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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

NATHSON FIELDS,                                )
                                               )
                             Plaintiff,        )
                                               )
                      v.                       )        No. 10 C 1168
                                               )
CITY OF CHICAGO, et al.,                       )
                                               )        Judge Kennelly
                             Defendants,       )
                                               )
                      v.                       )
                                               )
UNITED STATE PAROLE COMMISSION,                )
                                               )
                             Respondent.       )

                  UNITED STATES PAROLE COMMISSION’S
           RESPONSE TO AMENDED MOTION TO ENFORCE SUBPOENA

       Nathson Fields seeks to compel production of additional documents from the U.S. Parole

Commission based on wild allegations that the U.S. Department of Justice and Parole

Commission are engaged in a conspiracy to hide some secret deal with Earl Hawkins in

connection with this civil case. That premise is false. There was no secret deal and no cover

up. As detailed in the attached declaration of AUSA William Hogan, (1) at the time of

Hawkins’s testimony in Fields’s case, the U.S. Attorney’s Office (not a party to the case)

believed Hawkins’s likely release date was around 2026, (2) the U.S. Attorney’s Office did not

anticipate and was surprised by the Parole Commission’s decision to grant Hawkins parole last

year, and (3) the letters sent by the government in connection with Hawkins’s July 2014 parole

hearing were entirely appropriate and in fact required as part of Hawkins’ 1989 plea agreement

in his federal criminal case. Moreover, they arrived at the Commission days after Hawkins’s

hearing and after the parole recommendation was made.
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       Fields’s allegations are baseless and reckless. The government is willing to tender to the

court the entire Parole Commission file for in camera review. As reflected in that file, and

supported through the attached declaration, the Parole Commission has turned over the

appropriate documents under the applicable federal regulation, and that response is not arbitrary

or capricious (the standard of review in a matter such as this). See Edwards v. U.S. Department

of Justice, 43 F.3d 312 (7th Cir. 1994). The motion to compel thus should be denied.

                                            Respectfully submitted,

                                            ZACHARY T. FARDON
                                            United States Attorney

                                            By: s/James M. Kuhn Sr.
                                               JAMES M. KUHN SR.
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                        AUSA Hogan
                        Declaration
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STATE OF ILLINOIS             )
                              )      SS
COUNTY OF COOK                )
                                     AFFIDAVIT

       I, William R. Hogan, Jr., being duly sworn, state the following:

       1.      I have been an Assistant United States Attorney (AUSA) since November 1982

and employed in the Northern District of Illinois since September 1985. In early 1988, I was

assigned as the lead prosecutor in the investigation of the El Rukn Gang Organization. That

investigation led to the indictment of 65 members and associates of the El Rukn Organization in

October 1989 for offenses including racketeering conspiracy, substantive racketeering involving

approximately 29 predicate acts of murder, attempted murder, murder conspiracy, kidnapping,

and obstruction of justice, as well as dozens of narcotics offenses; interstate murder-for-hire;

murder in furtherance of a racketeering enterprise; kidnapping; narcotics conspiracy; and dozens

of substantive narcotics offenses. The investigation further led to the indictment in June 1991 of

former Cook County Circuit Court Judge Thomas Maloney and two lawyers, William Swano and

Robert McGee, on charges of racketeering conspiracy, substantive racketeering involving

multiple predicate acts of bribery stemming from the fixing of murder cases in the Circuit Court,

including Earl Hawkins and Nathson Fields’s 1986 conviction for the Smith/Hickman double

murder; conspiracy to commit extortion; and obstruction of justice. I was the lead trial attorney

for the United States Attorney’s Office (USAO) for nine RICO trials conducted between April

1991 and April 1993 resulting from these indictments.

       2.      This affidavit is submitted in support of the government’s response to Nathson

Fields’s December 17, 2014 amended motion to enforce a subpoena to the United States Parole

Commission, and is based on my personal knowledge. That amended motion alleges, among


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other things, that I, along with other members of the USAO and Department of Justice (DOJ),

Cook County Assistant State’s Attorney (ASA) Brian Sexton, two former Chicago Police

Department officials who served as investigators and case agents on the El Rukn prosecution

team, former Lieutenant David O’Callaghan and former Sergeant Daniel Brannigan, and counsel

for the defendants in the case before this Court, conspired to have a former El Rukn cooperating

witness, Earl Hawkins, commit perjury in this Court by lying about the date he expected to be

released from federal and state prison sentences, and to obtain Hawkins’s early release from

those sentences in exchange for false testimony against Fields in the civil trial conducted before

this Court last Spring; that “the DOJ has been complicit in hiding materials sought in the

subpoena”; “cannot be trusted to honor the subpoena”; and “was in collusion with the cover-up

regarding the individuals who were seeking the parole of Mr. Hawkins.” Doc. 792 at 6-8. These

allegations are categorically false, and utterly unsupported by any facts or evidence.

       3.      Earl Hawkins was a member of the El Rukn Organization and its predecessors,

the Blackstone Rangers and the Black P Stone Nation, from the time he was approximately 10

years old in 1965 until February 1987, when he began to cooperate in the El Rukn investigation

after having been convicted of a double murder in the Cook County Circuit Court and sentenced

to death by Judge Thomas Maloney in September 1986. Hawkins was indicted in October 1989

with the other members of the El Rukns, and charged with racketeering, racketeering conspiracy,

and narcotics conspiracy. I have dealt with Hawkins as a cooperating witness from mid-1988

until today, and am familiar with his federal and state charges, plea agreements, sentences,

conditions of confinement in the federal Bureau of Prisons (BOP), and recently, his appearance

before the United States Parole Commission.




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       4.     As a result of his cooperation, Hawkins reached a plea agreement with both the

USAO and the Cook County State’s Attorney’s Office (SAO) in October 1989 that, among other

things, called for him to receive the maximum sentence possible of 60 years on his three federal

charges (20 years on each charge, to run consecutively). Because the state murder case for which

he had been convicted was tainted by the bribery of Judge Maloney by attorney William Swano

and other members of the El Rukns, including Hawkins’s co-defendant Nathson Fields, and

because there was a chance that the USAO investigation could in the future develop evidence

sufficient to charge Maloney, Swano, and others with that bribery and therefore reverse the

murder convictions, the SAO component of Hawkins’s plea agreement further provided that in

the event his death sentence was reversed and reduced below a sentence of natural life, the SAO

could charge him with several other murders he had confessed to and give him a sentence of up

to natural life imprisonment. Moreover, Hawkins agreed that if his death case were reversed and

he was retried, the SAO could again seek the death penalty. The agreement also provided that the

USAO would fully apprise various entities, including specifically “the Parole Commission,” of

the “nature, scope, and extent of defendant’s conduct regarding the charges against him, and

related matters, including all matters in aggravation and mitigation relevant to the issue of

sentencing.” See Hawkins Federal Plea Agreement, Ex. 1 to City Defendants’ Response To

Plaintiff’s Proposed Discovery Plan For Post-Trial Motions, Doc. 770-1 p. 4-5.

       4.     In April 1993, Hawkins testified against former Judge Maloney and his bagman,

Robert McGee, and they were convicted of racketeering, racketeering conspiracy, conspiracy to

commit extortion, and obstruction of justice charges before Judge Harry Leinenweber. As a

result, Hawkins and Fields filed motions to vacate their murder convictions and sentences.




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       5.      In July 1994, while Hawkins’s death sentence was still in effect, Judge Marvin

Aspen sentenced him to 60 years’ federal incarceration in accordance with his plea agreement.

Pursuant to 18 U.S.C. § 4205(a), Hawkins was eligible for parole after serving 10 years of his

sentence, and pursuant to § 4206(d) reached his mandatory parole date “after serving thirty years

of each consecutive term or terms of more than forty-five years including any life term,

whichever is earlier: Provided, however, That the Commission shall not release such prisoner if

it determines that he has seriously or frequently violated institution rules and regulations or that

there is a reasonable probability that he will commit any Federal, State, or local crime.” The

BOP calculated the beginning of Hawkins’s sentence, and thus credit for time served, from the

date he was sentenced by Judge Maloney, September 19, 1986, resulting in an initial 10-year

parole eligibility date of September 18, 1996, a “two-thirds” release date of September 18, 2016

(i.e., 30 years after the September 18, 1986 sentencing date under the 30/45 year rule of §

4206(d)), and a statutory release date of January 1, 2027 (i.e., the actual two-thirds date of the 60

year sentence if the Commission decided to continue him to expiration pursuant to the provision

of § 4206(d) that it determined - in its sole discretion - there was a reasonable probability that he

would commit any further federal, state, or local crime). See Ex. 5 p. 4 to City Defendants’

Response To Plaintiff’s Proposed Discovery Plan For Post-Trial Motions, Doc. 770-5 p. 4. These

dates were subject to change, however, if the original computation date of Hawkins’s jail time

was adjusted based on additional information – in other words, if the BOP received additional

information that he had done more jail time than he was credited for when the BOP did its initial

computation calculations.

       6.      In January 1998, the Illinois Supreme Court vacated Hawkins and Fields’s

convictions and sentences because of the bribe to Maloney, and remanded the proceedings for a

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new trial. People v. Hawkins and Fields, 181 Ill.2d 41 (1998).

       7.      In late 1998, I was contacted by Assistant State’s Attorneys (ASAs) Brian Sexton

and David Kelley, who had been assigned to the retrial, regarding the SAO’s potential interest in

approaching Hawkins to be a witness against Fields. I arranged for ASAs Sexton and Kelley to

contact Hawkins through the DOJ Office of Enforcement Operations (OEO) in Washington,

D.C., which controlled all contacts with Hawkins after April 1990. In 1999, ASAs Sexton and

Kelley met with Hawkins to discuss his testifying against Fields, and eventually reached a

tentative agreement with him through his attorney, David Stetler, who had been appointed to

represent him by Judge Aspen in 1996.

       6.      In May 1999, in preparation for Hawkins’s initial 10-year parole hearing (which

had been delayed for unknown reasons), a BOP Inmate Systems Technician advised the BOP

Administrator of Inmate Monitoring, Tony Merola, that based on her calculations, Hawkins was

eligible for approximately an additional 27 months of jail time credit for “periods of prior

custody time that can be awarded to the federal sentence once verified” – that is, an additional 11

months for the time Hawkins spent in Cook County Jail between October 18, 1981 and

September 18, 1982 awaiting trial on the Willie Bibbs murder, which was racketeering act 10 of

the RICO indictment, and the additional 16 months between his May 18, 1985 arrest for the

Smith/Hickman murders and his September 16, 1986 sentencing for those murders by Judge

Maloney, which was racketeering act 18. Doc. 770-5 p. 9.

       7.      In February 2002, ASAs Kelley and Sexton asked me to help obtain as accurate a

figure as could be determined regarding when Hawkins would likely be granted parole from his

federal sentence so they could attempt to reach a new state plea agreement with him. ASAs

Sexton and Kelley explained that the SAO wanted Hawkins to enter a state plea agreement that

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would be co-extensive with the maximum amount of time Hawkins was projected to actually

serve on his federal 60-year sentence. After consulting with OEO and BOP officials, ASA Kelley

and I conducted a conference call with Inmate Monitoring Administrator Merola, who I had been

advised by DOJ and BOP officials would be able to provide the most accurate information on

that topic. Administrator Merola sent me a number of BOP documents regarding Hawkins’s

sentencing calculations, including those reflecting the BOP’s initial “two-thirds date” release

date of September 18, 2016 and statutory release date of January 1, 2027 described above, and

the Parole Commission’s decision following his 10-year eligibility hearing in June 1999, which

showed that he had been continued “to a 15 Year Recommendation Hearing in June 2014.” Id. at

p. 4, 7, 8. Administrator Merola also advised me and ASA Kelley that despite Hawkins’s

statutory “two-thirds” (30 year) date of September 18, 2016, it was his conclusion, based on

Hawkins’s offense severity level rating, salient factor score, criminal history, institutional

behavior and adjustment, and Merola’s extensive experience regarding prior Parole Commission

determinations involving violent offenders, that it was his best judgment that Hawkins would not

receive parole in 2016, but rather probably would be continued to his “expiration date” of 2027

due to the “reasonable probability that he will commit and Federal State, or local crime” if

released before mandatory expiration. On August 4, 2003, I recounted the conversation ASA

Kelley and I had with Mr. Merola in a letter to ASA Kelley, including Mr. Merola’s advice

regarding Hawkins’s anticipated parole release date of 2027, and sent ASA Kelley the supporting

documents received from the BOP and Mr. Merola. That letter and those documents are attached

to Defendants’ Response as Ex. 5, Doc. 770-5.

       8.     On July 19, 2002, the SAO reached a plea agreement with Hawkins that required

him to plead guilty to two counts of armed violence regarding the Smith/Hickman murders, and

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to receive a sentence of 42 years for each count, to be served consecutively, with credit for time

served running from the May 18, 1985 date of his arrest for those murders. That sentence was to

run concurrent with the federal sentence, and projected that Hawkins would conclude his state

sentence in 2027, the same time it was predicted that he would receive federal parole according

to the advice received from Inmate Monitoring Administrator Merola. See Hawkins 2002 State

Plea Agreement, Doc. 770-2.

       9.      In August 2013, a hearing began before Chief Judge Paul Beibel of the Cook

County Circuit Criminal Court on a petition by Fields for a Certificate of Innocence regarding

the Smith/Hickman murders. Hawkins was deposed the day before he testified in that hearing,

and before the deposition began, ASA Sexton advised Fields’s counsel Gorman that the SAO

had agreed to a new plea agreement with Hawkins that reduced his state time to two consecutive

39-year sentences. ASA Sexton specified “that your (Hawkins) actual out date on the federal

sentence is 2027” based on “a letter from 2003 from AUSA Hogan that clarifies that it’s not

2016.” Sexton noted that Fields’s counsel Gorman already had a copy of the August 2003 letter

(and its attachments), but that he had given her another one that morning before the deposition

began. Doc. 770-4 p. 2. Thus, Hawkins’s new state agreement for 78 years (with credit from

May 18, 1985) called for him to be released on his state sentence in mid-2024 - approximately 3

years before Sexton, based on the information from the BOP in the August 2003 letter, projected

his federal sentence would conclude – or, as Sexton put it, “just to make it clear for the Bureau of

Prisons and everyone that you (Hawkins) would not be doing additional time on your state

sentence, that it would be under your federal sentence.” Id.

       10.     The new plea agreement was formalized on December 9, 2013 when Hawkins and

the SAO entered a new written agreement, months before Hawkins testified in this civil case.

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That agreement repeated the proviso that Hawkins’s state sentence would run concurrently to his

federal sentence, and reiterated ASA Sexton’s statement at the deposition that “it is the intent of

both parties that defendant Hawkins not serve any additional time in state custody beyond what

he is already serving on his federal sentence.” See Hawkins 2013 Plea Agreement, Doc. 770-3.

       11.     In early 2014, I was contacted by OEO regarding an effort by BOP to verify that

Hawkins was entitled to jail time credit for the period in 1981-82 he spent at Cook County Jail

awaiting trial on the Bibbs murder, which had been incorporated into the substantive RICO

charges to which Hawkins pled guilty in October 1989. On January 6, 2014, I wrote to the

Assistant Administrator of Inmate Monitoring for the BOP and verified that Hawkins had been

arrested on October 10, 1981 on the Bibbs case, that the charges were dismissed on September

10, 1982 when Hawkins was acquitted of that murder, and that he had spent that time in

continuous custody at Cook County Jail.

       12.     In February 2014, BOP updated its computations regarding Hawkins’s prior jail

credit time. Those new computations reflect that Hawkins had finally received BOP jail credit

time on approximately February 2, 2014 for the period he spent at Cook County Jail on the Bibbs

murder in 1981-82, and for the period from his May 18, 1985 arrest on the Smith/Hickman

murders to June 26, 1994 when he arrived in BOP custody after being sentenced by Judge

Aspen. Those updated computations were produced by the Parole Commission in response to

Fields’s recent subpoena to the Commission in October 2014 as part of these proceedings, but

had not been furnished to me or anyone else in the USAO before being produced by the

Commission in November 2014. Those computations, which have been filed under seal with this

Court, further reflect, among other things, that the additional credit for prior jail time had the




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effect of advancing Hawkins’s statutory “two-thirds date” (i.e., 30-year date) to June 16, 2014,

and his statutory release date to September 28, 2024. Bates No. USPC 01, 2.

       13.     In late June 2014, Hawkins advised me that he had recently been informed that he

had received the additional jail credit time and had been scheduled for a parole hearing on July

11, 2014. He requested that I comply with the terms of his federal plea agreement and write the

Parole Commission regarding his cooperation since 1987. He further requested that former case

agents/officers O’Callaghan and Brannigan, the two El Rukn case investigators with whom he

had the most interaction over the years, and ASA Sexton, also write the Parole Commission. I

passed on those requests in late June 2014. O’Callaghan and Brannigan had testified numerous

times during the El Rukn trials that they had agreed to advise any judge or parole body of

Hawkins’s cooperation, and they agreed to write to the Parole Commission to keep those

commitments. ASA Sexton also agreed to write in order to describe Hawkins’s cooperation in

the state proceedings regarding Fields, particularly his testimony in the Innocence Hearing.

       14.     On July 1, 2014, I received former Lt. O’Callaghan’s letter, on July 6 Sgt.

Brannigan’s, I wrote a letter dated July 9, and ASA Sexton wrote on July 14. However, I waited

until I had received all the letters before sending them to OEO for transmission to the Parole

Commission, and I was out of town on vacation the entire week of Monday July 14 through

Saturday July 19. Consequently, I did not receive ASA Sexton’s letter until I returned to work on

Monday July 21. At that time, I transmitted all four letters by email to OEO to forward to the

Parole Commission, which it did that day - over a full week after Hawkins’s parole hearing had

been held on July 11 and the hearing officer had recommended that he be granted parole.

       15.     I have reviewed the tape of Hawkins’s July 11 parole hearing, as well as the BOP

sentence computation documents dated that same day furnished to the hearing examiner at the

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hearing. The tape makes clear that at the beginning of the hearing the examiner did not realize

that Hawkins had received the additional jail credit time described above, and began the hearing

as a statutory interim hearing. After several minutes, the examiner received and reviewed the

new BOP sentence computation documents that reflect that Hawkins had passed his two-

thirds/30 year date in June 2014, and therefore converted the hearing to a formal mandatory

parole hearing pursuant to the standards set forth in 18 U.S.C. §§ 4203-4207. After reviewing

Hawkins’s BOP behavior file, program activities, and the prior parole commission reports,

including his offense severity rating, salient factor score, and criminal history, the examiner

decided to exercise his discretion under §§ 4206 and 4207 and grant Hawkins parole. The

examiner did not have any of the letters from ASA Sexton, former Sgt. Brannigan, former Lt.

O’Callaghan, or me at the hearing, and they therefore played no part in his decision. That

decision was, as the tape makes clear, based on Hawkins’s entire record, particularly the

examiner’s conclusion that Hawkins had an exemplary record in his nearly 30 years in the BOP,

had availed himself of all available program opportunities, and - most importantly - that there

was not a reasonable probability that Hawkins would commit any further federal, state, or local

crime. Following the hearing, the Parole Commission granted Hawkins parole on July 28, 2014,

explicitly stating that he was still subject to the State sentence: the Notice of Action reads “Grant

mandatory parole at two-thirds of the term (September 11, 2014) to the State of Illinois

sentence.” Bates No. USPC 06.

        16.    At no time have I ever contacted the Parole Commission on Hawkins’s behalf,

other than writing the July 7 letter describing his cooperation, as required by his federal 1989

plea agreement. Until I learned of the Parole Commission’s decision in late July, I expected that

Hawkins would not be released until about 2026 when he had served two-thirds of his federal

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sentence, as projected by Inmate Monitoring Systems Administrator Merola in 2002 and as

reflected in my letter of August 2003. Moreover, at the time I learned that Hawkins had been

granted parole, I still expected that he would be subject to the State sentence, as the Parole

Commission’s July 28 Notice of Action specified.

       17.     After Hawkins was granted federal parole effective September 18, 2014, his

attorney, David Stetler, filed a motion before Circuit Court Criminal Judge Vincent Gaughan to

enforce his state plea agreement on the basis that it expressly stated that “the intent of the

parties” was that Hawkins not do any more state time than federal time. The letters to the Parole

Commission written by ASA Sexton, former Sgt. Brannigan, former Lt. O’Callaghan, and me

were attached to that motion, and had naturally been furnished to Mr. Stetler as Hawkins’s

counsel in conjunction with the July parole hearing. I had no role whatsoever in Hawkins’s

efforts to reduce his state sentence before Judge Gaughan. In fact, it was not until shortly before

Mr. Stetler filed the motion before Judge Gaughan that I knew Hawkins’s 2013 state plea

agreement included the language regarding “the intent of the parties.” Following Hawkins’s

2013 plea agreement, I had expected that, regardless of what the Parole Commission decided,

Hawkins’s state sentence would run until 2024.

       18.     I categorically deny Fields’s counsel’s reckless and false allegations that I

conspired with anyone, particularly ASA Sexton, former Sgt. Brannigan, former Lt.

O’Callaghan, or anyone else from DOJ, the SAO, or the Parole Commission, to have Earl

Hawkins commit perjury in this Court by lying about the date he expected to be released from

his federal and state prison sentences, or to obtain Hawkins’s early release from those sentences

in exchange for false testimony against Fields in the civil trial conducted before this Court last

Spring; that I or anyone else from “the DOJ has been complicit in hiding materials sought in the

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subpoena” to the Parole Commission; or that I “was in collusion with the cover-up regarding the

individuals who were seeking the parole of Mr. Hawkins.” I further categorically deny that there

was any such conspiracy or cover-up of any nature at any time.

       19.     I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.


Executed on January 9, 2015.

                                            /S/ William R. Hogan, Jr.
                                            William R. Hogan, Jr.
                                            Assistant United States Attorney




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